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AO 91 (Rev. 01/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

United States of America
v.
Radoslav P. Boev
230 West 55th Street, 27F,
New York, NY 10019

mt Q.:a0-m4 -28

Defendant
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of _ 12/31/2019 in the county of Franklin in the Southern District of

Ohio , the defendant violated 21 U.S.C. § 841 and 846 , an offense described as follows:

21 U.S.C. §§ 841 and 846 - Conspiracy to manufacture, distribute, dispense, or possess with intent to manufacture,
distribute, dispense, or possess a schedule | controlled substance, to wit: gamma-Hydroxybutyric acid (GHB).

This criminal complaint is based on these facts:

SEE AFFIDAVIT ATTACHED HERETO AND INCORPORATED BY REFERENCE HEREIN.

@ Continued on the attached sheet.

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“£ IC omplainant's signature

Justin Myers, Special Agent

Printed name and title

Sworn to before me and signed in my presence.

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Date: 01/13/2020 C1 ,jo—)

Judge's signature

City and state: Columbus, Ohio Chelsey M. Vascura, U.S. Magistrate Judge

Printed name and title re
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Homeland Security Investigations (HSI) Columbus, Ohio Special Agent (SA) Justin

Myers, being first duly sworn, hereby depose and state as follows:

1. I make this affidavit in support of a criminal complaint to arrest Radoslav Pavlov
BOEV for violations of 21 U.S.C. §§ 841 and 846 - conspiracy to manufacture, distribute, or
dispense, or possess with intent to manufacture, distribute, or dispense a schedule I controlled
substance, to wit: gamma-Hydroxybutyric acid (GHB). Since this affidavit is being submitted
for the limited purpose of securing an arrest warrant, I did not include each and every fact known
concerning this investigation. I did not withhold any information or evidence that would negate
probable cause. I set forth only the facts that are believed to be necessary to establish probable

cause that BOEV committed the violations listed above.

2. Ihave been employed by HSI since June 2004. I gained experience through a
bachelor’s degree in Criminology, a master’s degree in Forensic Science, completion of the
Federal Criminal Investigator Training Program, and completion of the HSI Academy. During
that training, I was instructed in all phases of criminal investigation such as: criminal law, search
and seizure, field enforcement techniques, firearms proficiency, and interviewing and evidence.
I have also completed the HSI Cyber Undercover Training Course and the HSI Advanced
Cryptocurrency and Darknet Training Course. I am responsible for enforcing federal criminal
statutes involving, but not limited to, controlled substance violations, pursuant to 21 of the
U.S.C. §§ 841 and 846. I conduct investigations involving narcotics trafficking/smuggling and

distribution.

3. The information set forth in this affidavit is based upon seized evidence and my
observations and experiences, as well as those of co-workers and counterparts from participating

agencies.

Facts Supporting Probable Cause
4, HSI Columbus, with assistance from the Drug Enforcement Administration (DEA)

and the U.S. Postal Inspection Service (USPIS), conducted an investigation associated with the
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online persona “CHILLTIMES” for the distribution of GHB via the Darknet site’s Dream
Market (150 transactions), Wall Street Market (89 transactions), and Empire Market (560
transactions). “CHILLTIMES” sells exclusively GHB in the following quantities: 50ml -
$58.00, 100ml - $118.00, 150ml - $160.00, 200ml - $204.00, 250ml - $248.00, 500ml - $456.00,
750ml - $644.00, 1000ml - $816.00, 1500ml - $1,140.00 and 2000ml - $1,428.00. The total
illicit proceeds gained by “CHILLTIMES” range between $46,342.00 and $1,140,972.00
depending on quantity of GHB sold per transaction.

5. “CHILLTIMES” was providing GHB to a customer in Columbus, who was using the
Darknet online persona “STEVENICKS1.” On October 04, 2019, HSI Columbus Special
Agents and other investigators executed a federal search warrant on the residence associated with
“STEVENICKS1” in Columbus. Investigators seized Bitcoin (cryptocurrency), U.S. currency,
electronics, documents, a firearm and controlled substances, to include GHB and other controlled
substances. Investigators were able to determine that the seized GHB was ordered through
“CHILLTIMES” based on admissions from “STEVENICKS1.”

6. From October 3-9, 2019, USPIS Inspector Mohamed Sabrah located three U.S.
domestic mail parcels (tracking #’s 9114901496451178474632, 9114901496451178474663 and
114901496451178474649) that were scheduled to be delivered to the residence of
“STEVENICKS1” in Columbus. Inspector Sabrah obtained federal search warrants through the
U.S. District Court, Southern District of Ohio, to search the contents of the suspect mail parcels.
Each mail parcel contained approximately 407 grams of a liquid, for a total weight of
approximately 1.22 kilograms. I used a Thermo Scientific TruNarc drug testing device to
confirm that the liquid contained in each parcel was GHB. Forensic confirmation testing is

pending.

7. Through U.S. Postal records, Inspector Sabrah was able to determine that the suspect
mail parcels were all shipped from the Radio City New York, NY Post Office. Inspector Sabrah
was then able to retrieve video footage from the camera system in the post office, which depicted

the person who mailed the suspect parcels. They were mailed on October 1, 2019. Inspector
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Sabrah observed the shipper mail several other parcels in addition to the three suspect parcels
known to law enforcement that were scheduled to be delivered to “STEVENICKS1.”

8. From December 12-31, 2019, I conducted three controlled drug buys from
“CHILLTIMES” via Empire Market. I purchased a total of 400 milliliters of GHB during the
three buys. The parcels were all shipped from the same post office as the parcels containing the
GHB purchased by “STEVENICKS1.” The tracking numbers associated with the mail parcels
were 91149999443 14744374431, 91149999443 14744374738 and 91149999443 14744375322).
Again, Inspector Sabrah was able to obtain video footage of the person who shipped the suspect
mail parcels. The person depicted in the video footage was the same person depicted in the
previous videos. I submitted the contents of each of the parcels to the Ohio Bureau of
Investigation Forensic Laboratory for testing. To date, they confirmed that the mail parcels
received from the first two controlled buys contain GHB. Analysis of the contents from the mail

parcel obtained during the third controlled buy is pending.

9. On September 13, 2018, U.S. Customs and Border Protection (CBP) inspected an
inbound international parcel (tracking # 812658060356) at the FedEx hub in Memphis,
Tennessee. The recipient was listed as Rod BOEV, 230 West 55th Street, 27F, New York, New
York 10019. The parcel contained an unknown liquid. Laboratory testing identified the liquid
as gamma-Butyrolactone (GBL), a List I Chemical. GBL is an analogue of GHB. CBP seized
the contents of the parcel for violations of 21 U.S.C. Section 881(a)(1) and 960 - Precursor
Chemicals. The total weight of GBL was 1.35 kilograms.

10. On October 27, 2018, CBP inspected an inbound international parcel (tracking #
812658840437) at the FedEx hub in Anchorage, Alaska. The recipient was listed as Rod BOEV
/Inkreel LLC, 230 West 55th Street, 27F, New York, New York 10019. The parcel contained an
unknown liquid. Testing using a Thermo Scientific Gemini identified the liquid as GBL. CBP
seized the contents of the parcel for violations of 21 U.S.C. Section 881(a)(1) and 960. The total
weight of GBL was 2.58 kilograms.
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11. Using Department of Homeland Security databases, investigators were able to
identify the subject depicted in the videos obtained by the USPIS. The subject suspected of
using the online persona “CHILLTIMES” was fully identified as Radoslav Pavlov BOEV of 230
West 55th Street, 27F, New York, New York 10019. BOEV’s address is located within
approximately 0.8 miles of the Radio City New York Post Office.

12. On January 05, 2020, the New York Police Department (NYPD) executed a state-
issued search warrant on BOEV’s residence of 230 West 55th Street, 27F. The search warrant
was in response to an incident that happened earlier that day at the residence. BOEV had spilled
some of the chemicals he was using to create GHB on his foot. BOEV contacted medical
personnel to respond to his residence. The medical personnel observed what they thought to be a
drug laboratory in the apartment and contacted the NYPD. The NYPD seized the following
items from BOEV’s apartment: numerous computers, mobile phones and other electronic
storage devices, numerous pieces of laboratory equipment used to mix and store chemicals, mail
shipping envelopes, weight scales, precursor chemicals to make GHB, nine large containers of

GHB and 169 smaller bottles of GHB that appeared to be ready for distribution.

13. NYPD investigators conducted a post Miranda recorded interview with BOEV. He
stated the following:

BOEV has been using and selling GHB for approximately two years. BOEV uses profits
from the GHB distribution to help pay his rent and pay down debt. He has paid off
approximately $5,000.00 in debt to date. BOEV orders a lot of his supplies from
Amazon. He sells the GHB to friends and their friends. Using the Darknet to sell GHB
could be a possibility. It costs BOEV approximately $350.00 to make one liter of GHB.
He can then sell one liter of GHB for approximately $1,000.00.
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Conclusion
14. Based upon the above information, I believe there is probable cause to believe
Radoslav Pavlov BOEV conspired to manufacture, distribute, or dispense, or possess with intent
to manufacture, distribute, or dispense a controlled substance in violation of Title 21 U.S.C. §§

841 and 846. Therefore, I respectfully request that this Court issue an arrest warrant.

L———

ustin Myers

Special Agent

Homeland Security Investigations

Sworn and subscribed to before me this 13th day of January 2020.

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Chelsey M. Vascura

United States Magistrate Judge
Southern District of Ohio
